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              IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE DISTRICT OF SOUTH CAROLINA
                         CHARLESTON DIVISION


UNITED STATES OF AMERICA                  Criminal No:    2:21-cr-600

                  v.
                                                   PLEA AGREEMENT
KARL HENRY ZERBST, JR.

                          Genera1 Provisions


        This PLEA AGREEMENT is made this 3rd             day of September ,

2021,    between the United States of America,           as represented by

Acting United States Attorney M. RHETT DEHART, Assistant United

States Attorney Allessandra Stewart; the Defendant, KARL HENRY

ZERBST, JR., and Defendant's attorney, Joseph Griffith, Jr.

        I N CONSIDERATI ON of the mutual promises made herein,           the

parties agree as follows:

  1. The Defendant agrees to waive Indictment and arraignment,

        and plead guilty to an Information charging, Conspiracy to

        Cammit Crime Against United States,       in violation of Title

        18, United States Code § 371.

        In order to sustain its burden of proof, the Government is

required to prove the following:



        Count 1

        A.   An agreement between two or more persons to cornmit a

             crime against the United States; and


                                    -1-
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